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IN THE UNITED STATES DISTRICT CouRT

 

 

FOR THE NORTHISN DISTRICT OF ILLINOIS APR 2 5 2001

DP cop EASTERN DIVISION
MICAHEL RYAN, ) | —
“Plain > OC 2961
. )
) No .
cn Miers anges) JUDGE GETTLEMAN
Officer MARK HEIN, STAR # 249 )  MAGISTE
and other UNIDENTIFIED ) TRATE JUDGE BOBRICK
. “police officers individually and as )
police officers for the Cook County Sheriff’s) SO aan
x

_ “Now COMES the Plaintiff, MICHAEL RYAN, bya and through his atlomey in

. ; this regard, GIGI I GILBERT, and complaining of Defendants Officer MARK HEIN ee

STAR # 249 and other unidentified police officers individually and 2 as police officers for

the Cook County Sheriff’ s Police > Department at and 1d Maywood P Police °e Department a and |

: DONALD ALBANESE, states 4 as s follows: oe

NATURE OF THE CASE ;

1, ‘This suit arises 8 from the violation of civil righis of Plaintiff MICHAEL

probable cause and with excessive and/or unreasonable force in violation of Title 42

US8.C.§1983.

RYAN, during a an arrest for the misdemeanor charge of Disorderly Conduct without

Police Department and Maywood Police —) JURY TRIAL DEMANDED, Be wYk
Department and DONALD ALBANESE. ) o Pie
| | mo) Qa AS
Defendants. ) zB o 3 OS
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COMPLAINT ~ 3 Bo

 

 
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JURISDICTION

2. This action is brought pursuant to 42 U.S.C. § 1983. Jurisdiction is based
upon 28 U.S.C. §§ 1331, 1332, and 1367. This court has pendent jurisdiction over
Plaintiff's state law claim. Plaintiff demands trial by jury.

VENUE

3, The violation of civil rights alleged herein were committed within the
Northern District of Illinois to wit: City of Maywood, County of Cook, State of Illinois.
This action properly lies in the United States District Court, Northern District of Illinois,
Eastern Division.

__ PARTIES

4, Plaintiff, MICHAEL RYAN, (“RYAN”) is a resident of the City of
Westchester, County of Cook, State of Iinois.

5 . CITY OF MAYWOOD, MAYWOOD”) is an Iinois municipal
corporation, and owns, > operates, manages, directs and controls the Maywood Police
Department and Maywood Fire Department which employs the other Defendants. |

6. Defendant, MARK HEIN, (“HEIN”), Star # 249 is and at all times
relevant hereto was, an officer of the Cook County Sheriff’ s Police Department and
acting under color of state law.

7. Defendant, DONALD ALBANESE, (’ALBANESE”) is and at all times
relevant hereto was, an employee and/or paramedic of the City of Maywood fire

department.
 

 

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8. Defendants, UNIDENTIFIED POLICE OFFICERS, (“UNIDENTIFIED”)
are and at all times relevant hereto were, officers of the Cook County Sheriff's Police
Department and Maywood Police - Departments acting under color of state e law.

COUNT I- VIOLATION OF CIVIL RIGHTS
FALSE ARREST NO PROBABLE CAUSE

9. Onor about April 25, 2000 Plaintiff, RYAN, went to the Cook County

Sheriff's Police Department office 1 in Maywood, Illinois to speak toa friend.

| 10. Defendants, HEIN, a Cook County Sherif? $ pote officer, and other
UNIDENTIFIED Cook County Sheriff’s police officers and UNIDENTIFIED Maywood
Police officers approached, tackled and arrested RYAN.

11, Defendants, HEIN, without probable cause that RYAN had committed a
crime or was in the process of committing a crime, arrested and transported RYAN to
the Maywood Police Department and charged him with the misdemeanor offense of
Disorderly Conduct.

12.‘ The facts and circumstances within Defendants’, knowledge would not
lead a reasonable police officer to believe that RYAN was committing the misdemeanor
offense of Disorderly Conduct.

13. Defendants were acting under color of state law as members of the Police
Department of the City of Maywood and the Cook County Sherif? S Police Department.

14. Defendants intentionally violated RY AN’s constitutional right not to be
arrested or seized without probable cause in violation of the Fourth Amendment to the
Constitution of the United States.

15. Defendants’ acts were done with malice and/or reckless indifference to

RYAN’S federally protected rights.
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16. The misdemeanor charge of Disorderly Conduct was s “SOL ed” or,
dismissed by the Assistant State’s Attorney i in the Fourth Municipal District courthouse
in Maywood, Illinois.

17. Asadirect and | proximate result of Defendants’ actions, RYAN, suffered

~ and continues to suffer serious mental anguish, psychological and emotional distress, and.

physical pain and suffering, some or ral of which may be permanent, |
18. Asa direct and proximate ‘result of Defendants’, actions acting under color -
of state law, RYAN was deprived of rights, privileges and immunities under the Fourth
Amendment to the United States Constitution and the laws of the State of Illinois.
WHEREFORE, Plaintiff, MICHAEL RYAN, prays that this Honorable Court
enter a judgment in his favor and against Defendants, OFFICER MARK HEIN STAR #
249, and other UNDENTIFIED police officers for the following relief.
(a) Compensatory damages in an amount tobe determined at trial;
(b) Punitive damages in the amount to be determined at trial;
(c) Reasonable attorney fees and costs; and

(d) Such other and further relief as this court deems reasonable.

   

COUNT If - VIOLATI MENT
EXCESSIVE FORCE IN ARREST

1-18. | RYAN realleges the allegations contained in ‘Paragraphs 1-18 above as if
fully set forth as paragraphs 1-18 herein.

19. Under the totality of circumstances at the time of arrest, Defendants HEIN
and UNIDENTIFIED officers used greater force than was reasonably necessary to make
the arrest of RYAN, in that they grabbed and tackled him with such force as toc cause

RYAN to sustain multiple injuries including a fractured arm.

 

 
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Case: 1:01-ev-02964 Decument#-tbiledO425/01. Pages ole Pagel) s5

20. As a direct and proximate result of Defendants’ actions, RYAN suffered
and continues to suffer physical pain requiring medical care, and suffered physical and
emotional pain ‘and mental anguish some or “all of which may y be » permanent. 7 |

| 21, Defendants, HEIN, and the other UNINDENTIF IED officers acted under

color of state law, and intentionally used excessive and/or unreasonable force in effecting

_ RYAN’s arrest, in violation of his Fourth Amendment rights under the United States

Constitution in violation of 42 U.S.C. sec. 1983.
| 22. Defendants’ acts of using excessive and/or unreasonable force in effecting

RYAN’s arrest were done with malice and/or reckless indifference to RYAN S federally
protected rights. oo

WHEREF ORE, Plaintiff, MICHAEL RYAN, prays that this Honorable Court
enter a judgment in his favor and against Defendants, OFF ICER MARK HEIN STAR # |
249, and other unidentified police officers for the following relief:

(a) Compensatory damages in an amount to be determined at trial;

(b) Punitive damages in the amount to be determined at trial;

(c) Reasonable attorney fees and ¢ costs; 3 and

(d) Such other and further relief a as s this ¢ court + deems reasonable.

  

COUNT III — PENDENT STATE LAW CLAIM- BATTERY
23. RYAN realleges the allegations contained in paragraphs 1-22 above as if
fully set forth as paragraphs 1-22 herein.
24. Defendant, DONALD ALBANESE, a City of Maywood employee, and
paramedic for the Maywood Fire Department, responded to the scene and along with |

MARK HEIN STAR # 249, and the other UNDENTIFIED police officers and battered

 

 
 

_. Case: 1:01-cv-02961 Document#-4t-Riled 0425/01 Page ois Pagel #6 _

 

RYAN by physically attacking him and forcing him to the ground causing physical p pain /
and bodily harm including a fractured : arm. Oo

25, As. a direct and proximate result of Defendants’ actions, , RYAN suffered _

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and continues to suffer physical pain requiring medical care, and suffered physical and

emotional pain and mental anguish, some or all of whieh n may be permanent.

. | WHEREF ORE, Plaintiff, MICHAEL RYAN, prays that this Honorable Court
enter a judgment in his favor and against Defendants, OFFICER MARK HEIN STAR#

249, DONALD ALBANESE and other UNDENTIFIED police officers for the following

 

 

 

relief:
(a) ‘Compensatory damages in an amount to be determined at trial:
(b) Punitive damages in the amount to be determined at trial;
(0) Costs; and
(d) Such other and further relief as this court deems reasonable. OO
Respectively Submitted,
By: LAY Abert
One of Plaintiff's Attomeys
. Gigi Gilbert

Attorney for Plaintiff
220 S. State St., #1015

. Chicago, IL 60604
(312) 554-0000
6199394

 

       
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JS 44
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CIVIL COVER SHEET

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the tiling and service of pleadings or other papers as Tequired
by law, except as provided by iccal rules of court, This form, approved by the Judicial Conterence of the United States in September 1974, is required for the use

of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVEP Se AT HES RM) ae fo gM

1. (a) PLAINTIFFS DEFENDANTS _ ,
Michael Lyan He-Hen Ct ahince GETTLENAN

ee MAGISTRATE JUDGE B ICK,
(b) counry oF RESIDENCE OF FIRST LISTED PLAINTIFF d

COUNTY OF RESIDENCE OF FIAST LISTED DEFENDANT
(EXCEPT IN U.S. PLAINTIFF CASES}

    

(IN ULS. PLAINTIFF CASES ONLY) >
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CIVIL RIGHTS

PRISONER PETITIONS

 

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1 210 Land Condemnation

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EJ 240 Torts to Land

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LD 200 Al ther Real Property

 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
in the Matter of Eastern Division

! MICHAEL RYAN,
a Plaintiff,

   

Eee

   

- MARK HEIN, STAR # 249, , DONALD "ALBANESE aa oes Case Number:

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APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS s ATTORNENS FOR:

  

 

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Plaintiff. MICHAEL I AEL RYAN “ecu

 

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